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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY

 NATHAN IVERSON,                          :
           Plaintiff                      :   NO. 3:21-cv-13335
                                          :
              v.                          :
                                          :
 KANIA REAL ESTATE                        :   JURY TRIAL DEMANDED
 HOLDINGS, LLC, individually and          :
 d/b/a COMFORT INN AT TOMS                :   DEFENDANT’S MOTION TO
 RIVER;                                   :   DISMISS PURSUANT TO
 STEPHANIE CONWAY,                        :   FEDERAL RULE OF CIVIL
 individually and in her official         :   PROCEDURE 12(b)(6)
 capacity; and                            :
 PATRICIA BRECKA, individually            :
 and in her official capacity,
                   Defendants.

      Defendants’, Kania Real Estate Holdings, LLC, individually and d/b/a

Comfort Inn at Toms River, Stephanie Conway, individually and in her official

capacity, and Patricia Brecka, individually and in her official capacity (collectively,

“Defendants”), by and through their counsel, Saxton & Stump, LLC, respectfully

move this Honorable Court to dismiss Counts IV and VIII of Plaintiff’s Complaint

pursuant to Federal Rule of Civil Procedure 12(b)(6). The complete grounds,

argument, legal authority and exhibits supporting this Motion are set forth in

Defendants’ accompanying Brief, which is incorporated herein by reference as

though set forth at length.

      WHEREFORE, Defendants, Kania Real Estate Holdings, LLC, individually

and d/b/a Comfort Inn at Toms River, Stephanie Conway, individually and in her
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official capacity, and Patricia Brecka, individually and in her official capacity,

respectfully request their Motion to Dismiss be granted and an Order entered in the

form attached hereto.

                                            Respectfully submitted,

                                            SAXTON & STUMP

Dated: September 20, 2021                    By: /s/ Lane E. Brody
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                                            Pro Hac Vice Pending

                                      Attorney for Defendants Kania Real Estate
                                      Holdings, LLC, individually and d/b/a
                                      Comfort Inn at Toms River, Stephanie
                                      Conway, and Patricia Brecka
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                         CERTIFICATE OF SERVICE

      I hereby certify that on this date, the foregoing Defendants’ Motion to Dismiss

Plaintiff’s Complaint Pursuant to Federal Rule of Civil Procedure 12(b)(6) was filed

electronically on the CM/ECF website for the United States District Court for the

District of New Jersey and is available for viewing by all electronic filers through

the court’s CM/ECF system.

                             Susan Kessler, Esquire
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                             Philadelphia, PA 19103
                           susan@dereksmithlaw.com
                              Counsel for Plaintiff



Dated: September 20, 2021                     By: /s/ Lane E. Brody
                                             Lane E. Brody, Esquire
